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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11   JOHN JOSEPH SIXTA,                       Case No. 5:19-cv-00332-VAP-MAA
 12                       Petitioner,
             v.                                JUDGMENT
 13
 14   PEOPLE OF THE STATE OF
 15   CALIFORNIA,

 16                       Respondent.
 17
 18         Pursuant to the Order Accepting Findings and Recommendations of the
 19   United States Magistrate Judge,
 20         IT IS ORDERED AND ADJUDGED that the Petition is denied and the
 21   action is dismissed without prejudice.
 22
 23   DATED: August 6, 2019
 24                                     ______________________________________
                                        VIRGINIA A. PHILLIPS
 25                                     CHIEF UNITED STATES DISTRICT JUDGE
 26
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